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     Greg D. Andres
 1
     Antonio J. Perez-Marques
 2   Gina Cora
     Craig T. Cagney
 3   Luca Marzorati
       (admitted pro hac vice)
 4   DAVIS POLK & WARDWELL LLP
     450 Lexington Avenue
 5
     New York, New York 10017
 6   Telephone: (212) 450-4000
     Facsimile: (212) 701-5800
 7   Email: greg.andres@davispolk.com
              antonio.perez@davispolk.com
 8            gina.cora@davispolk.com
              craig.cagney@davispolk.com
 9
              luca.marzorati@davispolk.com
10
     Micah G. Block (SBN 270712)
11   DAVIS POLK & WARDWELL LLP
     900 Middlefield Road, Suite 200
12   Redwood City, California 94063
13   Telephone: (650) 752-2000
     Facsimile: (650) 752-2111
14   Email: micah.block@davispolk.com

15   Attorneys for Plaintiffs
     WhatsApp LLC and Meta Platforms, Inc.
16

17                              UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                     OAKLAND DIVISION
20                                      )         Case No. 4:19-cv-07123-PJH
21    WHATSAPP LLC and                  )
      META PLATFORMS, INC., a Delaware  )         PLAINTIFFS’ NOTICE OF MOTION
22    corporation,                      )         AND MOTION TO EXCLUDE THE
                                        )         EXPERT TESTIMONY OF TERRENCE
23                    Plaintiffs,       )         MCGRAW
                                        )
24
             v.                         )           Date: February 13, 2025
25                                      )           Time: 1:30 p.m.
      NSO GROUP TECHNOLOGIES LIMITED )              Ctrm: 3
26    and Q CYBER TECHNOLOGIES LIMITED, )           Judge: Hon. Phyllis J. Hamilton
                                        )           Action Filed: October 29, 2019
27                    Defendants.       )
                                        )
28
                                 [PUBLIC REDACTED VERSION]
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 1         NOTICE OF MOTION AND MOTION TO EXCLUDE EXPERT TESTIMONY
 2          PLEASE TAKE NOTICE THAT, on February 13, 2025 at 1:30 pm in Courtroom 3 of the
 3   U.S. District Court for the Northern District of California, Plaintiffs WhatsApp LLC (“WhatsApp”)
 4   and Meta Platforms, Inc. (“Meta”; together with WhatsApp, “Plaintiffs”) will and hereby do move
 5   to exclude the expert testimony of Terrence McGraw. This Motion is based upon this Notice of
 6   Motion and Motion, the accompanying Memorandum of Points and Authorities, the Declaration of
 7   Micah G. Block and all exhibits thereto, the pleadings and papers on file in this action, and on such
 8   other written and oral argument as may be presented to the Court.
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2            Defendants NSO Group Technologies Ltd. and Q Cyber Technologies Ltd. (“NSO”) seek to
 3   introduce at trial the expert testimony of Terrence McGraw, who offers five principal opinions:
 4           Opinion No. 1:
 5           Opinion No. 2:
 6

 7           Opinion No. 3:
 8           Opinion No. 4:
 9           Opinion No. 5:
10

11                                                       under Federal Rule of Evidence 702 because they
12   advance contentions not relevant to the determination of damages (including contentions that have
13   already been rejected by the Court), purport to offer technical opinions not backed by sufficient anal-
14   ysis (                                                                                  ), or constitute
15   improper and irrelevant “policy” opinions not backed by any discernible methodology.
16            First, the Court’s ruling granting Plaintiffs’ motion for partial summary judgment, which
17   found NSO liable on all of Plaintiffs’ claims, renders the lion’s share of Mr. McGraw’s proposed
18   testimony irrelevant and warrants its exclusion. Several of Mr. McGraw’s opinions on technical
19   topics address issues the Court has already adjudicated as a matter of law or espouse positions the
20   Court has already rejected. Mr. McGraw’s opinions on policy topics have no relevance to any claim
21   or defense in the case. Mr. McGraw should not be permitted to advance merits-related contentions
22   that have already been rejected by the Court to a jury tasked only with deciding the amount that NSO
23   owes Plaintiffs in damages. Those opinions, if allowed, would not assist the jury in any way.
24            Second, Mr. McGraw’s proposed technical opinions are not backed by sufficient analysis and
25   thus should be excluded as unreliable, or in the alternative, as an evidentiary sanction for NSO’s
26   discovery violations. Most notably,
27

28       . NSO similarly

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 1                                                                                   . NSO’s refusal to grant
 2   its own expert access to evidence necessary for his conclusions, consistent with its “repeated[]
 3   fail[ure] to produce relevant discovery and fail[ure] to obey court orders regarding such discovery,”
 4   Dkt. No. 494 at 9, precludes Mr. McGraw from providing expert testimony that satisfies Rule 702
 5   and Daubert. Given these foundational shortcomings, the Court should exclude Mr. McGraw’s opin-
 6   ions regarding Pegasus in full. In the alternative, the Court should preclude NSO from offering expert
 7   testimony on issues NSO denied Plaintiffs the opportunity to test fully through discovery as part of
 8   the “appropriate” evidentiary sanctions the Court agreed to issue. Dkt. No. 494 at 9.
 9          Third, the Court should exclude Mr. McGraw’s proposed “policy” opinions, including
10                                                                     and his views regarding
11                                                                . As to his opinion that
12                                  , Mr. McGraw by his own admission lacks the requisite qualifications
13   or expertise to opine                                               , and Mr. McGraw concedes that he
14   has conducted no analysis                                                                       —espe-
15   cially because NSO
16           . Moreover, Mr. McGraw’s opinion
17   does not rest on any discernible methodology. The same is true of his final opinion as to
18                                                                 —an opinion that Mr. McGraw conceded
19                                                                    —that is not backed by any recognized
20   methodology, contradicts the Court’s summary judgment ruling finding NSO liable, and has no rel-
21   evance to the issues the jury needs to decide at trial.
22          Because none of Mr. McGraw’s opinions satisfy Rule 702 and none would be helpful to a
23   jury charged only with the determination of damages, his testimony should be excluded in full.
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 1                                                BACKGROUND
 2        I.        Mr. McGraw’s Background
 3

 4   McGraw Dep. Tr. at 24:24–25:9.1
 5                                                        . Tr. at 23:5–11.
 6                                                                                            Tr. at 23:17–24:1.
 7

 8                 Tr. at 27:1–6.
 9                                                                             McGraw Rep. ¶¶ 6–10.
10                                                                                Id. ¶ 11.
11                            Tr. at 32:17–21.
12                                                                              Tr. at 49:20–23.
13                                  McGraw Rep. ¶ 4; Tr. at 46:25–47:2.
14        II.       NSO Retains Mr. McGraw
15              After being retained, Mr. McGraw
16                                                                                Tr. at 68:6–20; see also Tr.
17   at 237:2–16
18                                                  Mr. McGraw admitted that
19                                               See Tr. at 72:12–13 (
20                                      ; see also Tr. at 272:23–25
21

22                                                          Tr. at 237:16.
23              In light of
24

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     1
      Mr. McGraw’s deposition transcript is attached as Exhibit C to the Declaration of Micah Block
27   and cited herein as “Tr.” Mr. McGraw’s expert report is attached as Exhibit A to the Declaration of
     Micah Block and cited herein as “McGraw Rep.” Mr. McGraw’s rebuttal expert report is attached
28   as Exhibit B to the Declaration of Micah Block and cited herein as “McGraw Rebuttal Rep.”
                                                       3
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 1                   Tr. at 67:1–6.
 2                                                Tr. at 236:10–237:1; see also, e.g., Tr. at 239:19–21
 3

 4

 5                                                            Tr. at 239:1–4.
 6         III.      NSO Serves Mr. McGraw’s Expert Reports
 7                NSO served Plaintiffs with Mr. McGraw’s expert report (the “McGraw Report”) on August
 8   30, 2024. The McGraw Report
 9                                                                                   McGraw Rep. ¶¶ 16–28.
10   He also explains
11                                            Id. ¶¶ 16, 22–25, 27. In his report, he identifies five headline
12   opinions:
13               Opinion No. 1:
14               Opinion No. 2:
15

16               Opinion No. 3:
17               Opinion No. 4:
18               Opinion No. 5:
19

20   Mr. McGraw also provides a summary of
21

22                            Id. ¶¶ 49–81. The appendix to Mr. McGraw’s report lists
23                                                                                                         Id.
24   at 37.2 In addition to reviewing documents produced in this litigation and public materials,
25

26

27   2
         In his deposition, Mr. McGraw admitted
                        Tr. at 57:24–25
28

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 2   Id.; Tr. at 59:3–14.                                                                 Tr. at 59:22–24.
 3       IV.      The McGraw Rebuttal Report
 4             NSO served Plaintiffs with Mr. McGraw’s rebuttal report (the “McGraw Rebuttal Report”)
 5   on September 21, 2024. That report
 6                                    In responding to Mr. Youssef’s report,
 7                                                              See McGraw Rebuttal Rep. ¶¶ 9–70.
 8

 9                                                                                             Id. ¶ 29; see,
10   e.g., id. ¶ 41
11   id. ¶ 42                                                                               In addition,
12

13                                                                                            Id. ¶¶ 37–38.
14             Like the McGraw Report,
15

16

17                            Id. ¶ 33.
18

19                            Id. ¶ 53.
20             Plaintiffs deposed Mr. McGraw on December 16, 2024.
21                                            LEGAL STANDARD
22             A witness who has been qualified as an expert by knowledge, skill, experience, training, or
23   education may give an opinion on scientific, technical, or otherwise specialized topics if (1) the ex-
24   pert’s scientific, technical, or other specialized knowledge will help the trier of fact understand the
25   evidence or determine a fact in issue, (2) the testimony is based upon sufficient facts or data, (3) the
26   testimony is the product of reliable principles and methods, and (4) the witness has applied the prin-
27   ciples and methods reliably to the facts of the case. Fed. R. Evid. 702; see Daubert v. Merrell Dow
28   Pharms., Inc., 509 U.S. 579 (1993). As the proponent of Mr. McGraw’s testimony, NSO bears the

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 1   burden of establishing by a preponderance of the evidence that the admissibility requirements are
 2   met. See Fed. R. Evid. 702.
 3           Daubert requires a two-part analysis. First, the Court must first analyze whether an expert’s
 4   testimony reflects “scientific knowledge” that is “derived by the scientific method” and whether the
 5   work product is “good science”—that is, whether the testimony is reliable and trustworthy. In re
 6   Ripple Labs, Inc. Litig., 2024 WL 4583525, at *1 (N.D. Cal. Oct. 24, 2024) (quoting Daubert, 509
 7   U.S. at 590 & n.9, 593). Accordingly, an expert’s opinion may reach the jury only if that opinion
 8   applies the expert’s “knowledge and experience” to the facts of the case with a “sufficient foundation
 9   of reliability.” Hangarter v. Provident Life & Acc. Ins. Co., 373 F.3d 998, 1018 (9th Cir. 2004).
10   Even for nonscientific fields that are not amenable to peer review or statistical analysis, the expert
11   must “employ[] in the courtroom the same level of intellectual rigor that characterizes the practice of
12   an expert in the relevant field.” Kumho Tire Co., v. Carmichael, 526 U.S. 137, 152 (1999).
13           Second, the Court must determine whether the testimony is “relevant to the task at hand.”
14   Daubert, 509 U.S. at 597. Expert testimony is relevant if the knowledge underlying it has a “valid
15   . . . connection to the pertinent inquiry.” Id. at 591–92. As Rule 702 requires, it must “help the trier
16   of fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702(a); see also
17   Daubert, 509 U.S. at 591. But “scientific validity [and relevance] for one purpose is not necessarily
18   scientific validity for other, unrelated purposes.” Daubert, 509 U.S. at 591.
19                                                ARGUMENT
20      I.      The Court Should Exclude Mr. McGraw’s Opinions Because They Have No
21              Relevance to Plaintiffs’ Damages
22           The Court’s ruling granting Plaintiffs’ motion for partial summary judgment eliminates the
23   need for all of Mr. McGraw’s opinions. On December 20, 2024, the Court concluded that there was
24   “no genuine dispute as to any material fact” on Plaintiffs’ CFAA, CDAFA, and breach of contract
25   claims. Dkt. No. 490 at 2 (quoting Fed. R. Civ. P. 56(a)). Because Mr. McGraw’s opinions relate to
26   issues the Court has already adjudicated, or have no relevance to the issues that remain, they will not
27   “help the trier of fact to understand the evidence or to determine a fact in issue.” Fed. R. Evid. 702(a);
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 1   see also Daubert, 509 U.S. at 591 (“Expert testimony which does not relate to any issue in the case
 2   is not relevant and, ergo, non-helpful.”) (internal quotation marks and citations omitted).
 3          A. The Court Should Exclude Mr. McGraw’s Technical Opinions That Contradict the
 4               Court’s Ruling on Liability
 5          The Court’s conclusions in its ruling on summary judgment flatly contradict Mr. McGraw’s
 6   opinions:
 7         Targeting California-based servers. Mr. McGraw opines
 8                                                                     McGraw Rep. ¶ 108. But this Court
 9          concluded that NSO “expressly aimed” Pegasus at computers in California. Dkt. No. 494 at
10          5.
11         Unauthorized access. Mr. McGraw opines t
12

13                               McGraw Rep. ¶ 123; see also McGraw Rebuttal Rep. ¶¶ 16–32. But this
14          Court concluded that any difference between the two theories was “semantic,” and NSO ex-
15          ceeded its authorized access. Dkt. No. 494 at 11–12.
16         Evading detection. Mr. McGraw opines
17                                 McGraw Rebuttal Rep. ¶ 42. But this Court concluded that NSO “re-
18          designed Pegasus to evade detection after plaintiffs first fixed the security breach.” Dkt. No.
19          494 at 12.
20         Obtaining information. Mr. McGraw opines
21                                             McGraw Rebuttal Rep. ¶ 41. But this Court concluded that
22          NSO’s spyware obtains information “directly from the target users’ devices” as well as from
23          WhatsApp’s servers. Dkt. No. 494 at 12.
24         Loss to Plaintiffs. Mr. McGraw opines
25                                    McGraw Rep. ¶ 148. But this Court concluded that Plaintiffs “in-
26          curred costs investigating and remediating defendants’ breaches.” Dkt. No. 494 at 15.
27

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 1         Holding spyware makers liable. Mr. McGraw opines
 2                                                                                McGraw Rep. ¶ 154. But
 3          this Court has found NSO liable on all of Plaintiffs’ claims. Dkt. No. 494 at 10–15.
 4   Each of these matters has already been resolved by the Court as a matter of law, rendering Mr.
 5   McGraw’s opinions irrelevant.
 6          B. The Court Should Exclude Mr. McGraw’s Opinions on Ultimate Issues of Law
 7          Even if the Court’s decision granting Plaintiffs’ motion for summary judgment had not ren-
 8   dered nearly all Mr. McGraw’s opinions irrelevant, these opinions should be excluded for the inde-
 9   pendent reason that they offer a conclusion on an ultimate issue of law. The Ninth Circuit “has
10   repeatedly affirmed that ‘an expert witness cannot give an opinion as to her legal conclusion, i.e., an
11   opinion on an ultimate issue of law.’” United States v. Diaz, 876 F.3d 1194, 1197 (9th Cir. 2017)
12   (emphasis omitted) (quoting Hangarter, 373 F.3d at 1016). “This prohibition of opinion testimony
13   on an ultimate issue of law recognizes that, ‘[w]hen an expert undertakes to tell the jury what result
14   to reach, this does not aid the jury in making a decision, but rather attempts to substitute the expert’s
15   judgment for the jury’s.’” Id. (quoting United States v. Duncan, 42 F.3d 97, 101 (2d Cir. 1994)).
16          All of the technical opinions in the McGraw Report (i.e.,                                ) are ex-
17   plicitly framed in terms of an ultimate issue of law and should be excluded on that basis. For instance,
18   Mr. McGraw should not be permitted to testify as to
19                        , which precisely mimics the argument that NSO asserted—and the Court re-
20   jected. See Dkt. No. 494 at 5. For similar reasons, Mr. McGraw should not be permitted to
21

22                                                             —all of which rely on misguided interpreta-
23   tions of the CFAA.
24          C. Mr. McGraw’s Policy Opinions Should Be Excluded Because His Opinions Are
25              Irrelevant to the Issues That Will Be Raised at the Damages-Only Trial
26          Like his technical opinions, Mr. McGraw’s policy opinions “have no relevance to the legal
27   and factual matters to be resolved by the jury.” Brice v. Haynes Invs., LLC, 548 F. Supp. 3d 882,
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 1   903 (N.D. Cal. 2021). To the extent the Court’s ruling did not dispose of Mr. McGraw’s opinions,
 2   any opinions that remain lack any connection to the categories of damages that Plaintiffs seek.
 3            Compensatory damages / unjust enrichment. Mr. McGraw’s expert testimony has no rele-
 4   vance to Plaintiffs’ requests for compensatory damages or for disgorgement of NSO’s profits.
 5

 6                   see McGraw Rep. ¶¶ 145–48, Mr. McGraw does not offer any opinions relevant to
 7   these theories of damages.
 8            Punitive damages. Mr. McGraw’s testimony likewise has no relevance to Plaintiffs’ request
 9   for punitive damages. As explained below,
10

11

12                                                                Tr. at 77:10–17. As such, Mr. McGraw
13   offers no more than                                                                                 ,
14   which is irrelevant to what the jury must decide. Brice, 548 F. Supp. at 902 (excluding expert opin-
15   ions regarding “social utility” of various business arrangements at issue in RICO case). While Mr.
16   McGraw may have high-level opinions about
17       , he has no basis to opine on whether, in this case, NSO acted with “oppression, fraud, or mal-
18   ice.” Cal. Penal Code § 502(e)(4); see also In re Toyota Motor Corp. Unintended Acceleration Mktg.,
19   Sales Pracs., & Prods. Liab. Litig., 978 F. Supp. 2d 1053, 1068 (C.D. Cal. 2013) (excluding expert’s
20   “general testimony” regarding collision investigations where expert “offers no opinions that are spe-
21   cific to the Camry or the collision”). As such, Mr. McGraw’s expert testimony has no relevance to
22   the jury’s consideration of punitive damages.
23      II.      The Court Should Exclude Mr. McGraw’s Opinions Regarding the Functionality
24               and Development of NSO’s Pegasus Spyware
25            Setting aside the fact that Mr. McGraw’s opinions regarding Pegasus’s functionality are ir-
26   relevant, those opinions should also be excluded as unreliable. NSO “repeatedly failed to produce
27   relevant discovery and failed to obey court orders regarding such discovery.” Dkt. No. 494 at 9.
28   NSO’s

                                                       9
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 1                                       . Because Mr. McGraw neither
 2                                                          nor
 3                                                       he lacks sufficient facts or data for his conclusions
 4   on these issues. In the alternative, the Court should preclude Mr. McGraw from testifying on these
 5   topics as part of the discovery sanction that the Court has already found was “appropriate.” Id.
 6           A. NSO Rejected Mr. McGraw’s Request to Review Pegasus Code
 7           In order for an expert’s testimony to satisfy Federal Rule of Evidence 702, it must be “based
 8   on sufficient facts or data.” Fed. R. Evid. 702(b). Though Mr. McGraw’s opinions all relate to
 9

10                                                                   See Tr. at 237:2–5. This deprived Mr.
11   McGraw of “sufficient facts or data” and warrants exclusion of all his opinions
12

13           Despite never having                             , Mr. McGraw offers expert opinions about
14                      For instance,
15                                                                See, e.g., McGraw Rep. ¶ 110
16

17                            In offering
18

19                                                         See, e.g., id. ¶¶ 127–31
20                                                      And
21                                                                  See, e.g., id. ¶¶ 141–42
22

23           Courts exclude the opinions of technical experts who offer opinions about the functioning of
24   computer code that they did not review. In Vox Marketing Group, LLC v. Prodigy Promos L.C.,
25   another case brought under the CFAA, the district court excluded a technical expert from opining on
26   when a feature was operational when the expert “had not reviewed the actual digital files” at issue.
27   521 F. Supp. 3d 1135, 1152 (D. Utah 2021). The expert’s failure to review these files meant that
28   “the basis of that opinion is not grounded in sufficient facts or data,” and thus “will not ‘help the trier

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 1   of fact to understand the evidence or to determine a fact in issue.’” Id. (quoting Fed. R. Evid. 702(a));
 2   see, e.g., Veritas Operating Corp. v. Microsoft Corp., 2008 WL 687118, at *3 (W.D. Wash. Mar. 11,
 3   2008) (prohibiting expert who did not review source code from opining that code was “severely
 4   buggy”); Autotech Techs. Ltd. v. Automationdirect.com, Inc., 2005 WL 3180147, at *9 (N.D. Ill.
 5   Nov. 23, 2005) (excluding opinion of expert who did not review product’s source code and instead
 6   relied upon publicly available information); see also Maldonado v. Apple, Inc., 2021 WL 1947512,
 7   at *20 (N.D. Cal. May 14, 2021) (“The flaw in [expert]’s opinion is precisely that the underlying
 8   material was not communicated to him and he did not review it.”) (emphasis omitted).
 9          B. The Limited Materials That Mr. McGraw Reviewed Do Not Provide Him with Suf-
10              ficient Facts or Data to Opine on the Functionality of NSO’s Pegasus Spyware
11          Mr. McGraw concedes that                                                  , and instead
12

13

14                                                                ” McGraw Rep. ¶ 73. Yet none of these
15   sources is sufficient for Mr. McGraw to offer an expert opinion on                           .
16          As a threshold matter,
17

18                                                                                              See, e.g., Tr.
19   at 72:12–13
20          The contents of the                                        are not a sufficient substitute for Mr.
21   McGraw’s opinions on
22                                   First, as NSO admitted,
23                      Dkt. No. 208 at 4
24

25

26                                                                                         See Dkt. No. 405-
27   4, Ex. N at 322:22–323:1 (
28                        Second,

                                                      11
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 1

 2                                                     See Tr. at 275:11–18
 3

 4          Nor can Mr. McGraw rehabilitate his opinions by relying
 5   Throughout his deposition,
 6                                                          See, e.g., Tr. at 137:9–138:1, 141:5–21. But
 7   the Court should not allow Mr. McGraw,
 8                                                         See Waymo LLC v. Uber Techs., Inc., 2017 WL
 9   6887043, at *6 (N.D. Cal. Nov. 14, 2017) (precluding expert opinion based on “uncritical acceptance
10   of other evidence in the case, which can speak for itself”); see also Ash Grove Cement Co. v. Emps.
11   Ins. of Wausau, 246 F.R.D. 656, 661 (D. Kan. 2007) (ruling that expert “may not simply parrot or
12   recite the opinions and knowledge of other expert and fact witnesses”); Dura Auto. Sys. of Indiana,
13   Inc. v. CTS Corp., 285 F.3d 609, 612–14 (7th Cir. 2002) (preventing expert from serving as “mouth-
14   piece” of another person); King-Indiana Forge, Inc. v. Millennium Forge, Inc., 2009 WL 3187685,
15   at *2 (S.D. Ind. Sept. 29, 2009) (“When an expert’s proffered opinion merely parrots information
16   provided to him by a party, that opinion is generally excluded.”).
17          C. The Court Should Exclude Mr. McGraw’s Opinions Regarding NSO’s Research-
18              and-Development Process
19          For similar reasons, the Court should exclude Mr. McGraw from offering opinions or testi-
20   mony regarding                                                        because they are not “based on
21   sufficient facts or data.” Fed. R. Evid. 702(b). Mr. McGraw admitted that
22

23                                                                                  Tr. at 187:25–188:18.
24   The Court should therefore exclude Mr. McGraw’s “wholly speculative” and “unfounded testimony.”
25   Elosu v. Middlefork Ranch Inc., 26 F.4th 1017, 1025 (9th Cir. 2022).
26          In the McGraw Rebuttal Report, Mr. McGraw attempts to defend
27

28

                                                      12
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 1   McGraw Rebuttal Rep. ¶ 51. Based on that speculation, Mr. McGraw concludes
 2

 3                                                            Id.3
 4          Despite the fact that Mr. McGraw opined on
 5

 6

 7                   For instance, Mr. McGraw conceded
 8

 9            Tr. at 190:22–24. Similarly, whether
10                                                                        Tr. at 191:19–22. Mr. McGraw
11   also admitted
12                                              Tr. at 193:23–24
13

14          More broadly, Mr. McGraw
15                                                                                                      Mr.
16   McGraw testified that
17              See Tr. at 215:4–5
18   Mr. McGraw’s deposition revealed that he lacked knowledge of                                       For
19   instance, Mr. McGraw admitted that
20                                                                                 Tr. at 189:6–9. Despite
21

22   Tr. at 188:21–22.
23                                             Tr. at 211:21–213:8. In light of these admissions,
24                                                             would be based on nothing more than spec-
25   ulation or impermissible parroting of fact witness testimony, and should thus be excluded.
26

27   3
       In granting Plaintiffs’ motion for partial summary judgment, the Court recognized that NSO “of-
     fer[red] no evidence as to when they did such reverse-engineering or decompiling.” Dkt. No. 494
28   at 14.
                                                      13
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 1          D. The Court Should Exclude Mr. McGraw from Offering Opinions Regarding
 2               Pegasus’s Operation on Target Devices
 3          Just as Mr. McGraw lacks sufficient facts and data to opine on
 4                                           he lacks any basis
 5

 6                                                       The Court should thus exclude Mr. McGraw from
 7   offering any opinions regarding
 8          As Mr. McGraw acknowledged at his deposition,
 9                                                                      Tr. at 62:13–15
10                                                              Nonetheless, Mr. McGraw offers opinions
11   regarding                                                          See, e.g., McGraw Rep. ¶ 80
12

13                                                  McGraw Rebuttal Rep. ¶ 48
14                                                                                                      id. ¶
15   109
16                                                    Because he lacks sufficient facts or data to support
17   any opinions about
18                   Mr. McGraw should not be permitted to offer such opinions at trial. 4
19          E. The Court Should Independently Preclude NSO from Offering Expert Testimony
20               Regarding Pegasus as a Discovery Sanction
21          Preventing Mr. McGraw from offering opinions regarding the functionality of Pegasus is par-
22   ticularly appropriate because NSO made the conscious decision not to provide him—or anyone else
23   in this case—with Pegasus code. In granting Plaintiffs’ motion for sanctions, the Court concluded
24   that NSO “repeatedly failed to produce relevant discovery and failed to obey court orders regarding
25

26
     4
      By contrast, Plaintiffs’ primary technical expert appropriately acknowledged that NSO did not
27   produce code showing the operation of the Pegasus agent. See Youssef Rep. ¶ 112 (“It is my un-
     derstanding this exploit led to the installation of a final-stage payload; the Defendants do not pro-
28   duce evidence with which to analyze this final-stage payload’s function or capabilities.”).
                                                      14
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 1   such discovery,” and that the “[m]ost significant” failing related to “Pegasus source code.” Dkt. No.
 2   494 at 9. Specifically, NSO’s “limitation of its production such that it is viewable only by Israeli
 3   citizens present in Israel is simply impracticable for a lawsuit that is to be litigated in this district.”
 4   Id. Though the Court did not need to impose evidentiary sanctions to find NSO liable on Plaintiffs’
 5   claims, it agreed to “impose evidentiary sanctions when appropriate.” Id. Such sanctions would be
 6   proper at this juncture. NSO should not be permitted to proffer expert testimony as to issues on
 7   which it has denied its adversary the underlying discovery needed to challenge such assertions.
 8       III.      The Court Should Exclude Mr. McGraw’s Policy Opinions About “Lawful
 9                 Intercept” Technology
10              Even if the Court finds that Mr. McGraw’s opinions about the
11                      relevant to the amount of Plaintiffs’ damages, it should nonetheless exclude these
12   opinions as unreliable and unsupported by appropriate expertise or analysis. Mr. McGraw’s back-
13   ground betrays a lack of expertise regarding
14                  McGraw Rep. ¶ 149. Mr. McGraw admits
15

16

17                                      See Tr. at 101:21–22
18                                           For this reason, Mr. McGraw’s
19                                                                  —lacks any foundation or reliable basis.
20   Mr. McGraw’s nontechnical testimony should therefore be excluded.
21              A. Mr. McGraw Lacks Qualifications to Offer Policy Opinions Regarding “Lawful
22                 Intercept” Technology
23              Mr. McGraw lacks the required “knowledge, skill, experience, training, or education,” Fed.
24   R. Evid. 702, to offer opinions on what
25                                                                                                    See, e.g.,
26   McGraw Rep. ¶ 154
27                                                     McGraw Rebuttal Rep. ¶ 99
28

                                                      15
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 1          To provide expert opinions, an expert’s knowledge must contain a “valid . . . connection to
 2   the pertinent inquiry.” Daubert, 509 U.S. at 592. “To be able to testify . . . expert witnesses must
 3   describe their relevant background and explain how that background informed the opinions they of-
 4   fer.” Mullins v. Premier Nutrition Corp., 178 F. Supp. 3d 867, 900 (N.D. Cal. 2016). Experts relying
 5   on experience must “explain how that experience leads to the conclusion reached, why that experi-
 6   ence is a sufficient basis for the opinions, and how that experience is reliably applied to the facts.”
 7   Fed. R. Evid. 702 advisory committee’s note (2000); see United States v. Cerna, 2010 WL 11627594,
 8   at *6 (N.D. Cal. Dec. 17, 2010) (citing United States v. Hankey, 203 F.3d 1160, 1168 (9th Cir. 2000)).
 9          Mr. McGraw’s background provides no expertise regarding the use of
10          or the                  or                 of                     . See McGraw Rep. ¶¶ 149–
11   154. Before being retained as an expert in this case,
12                                                 Tr. at 13:22–14:9.
13                                                      Tr. at 165:16. He has never
14                               has
15                                        and                                                           Tr. at
16   89:21–90:18. In light of his
17         Mr. McGraw knows almost nothing about
18                     Tr. at 149:23–25. Mr. McGraw’s
19                   renders him wholly unqualified to offer an opinion about
20

21          B. Mr. McGraw Has No Reliable Basis to Opine on NSO’s Customers or Targets
22          In addition to lacking any relevant qualifications or experience, Mr. McGraw lacks any reli-
23   able basis to expert testimony about the identities of NSO’s customers, or whether NSO vets them.
24   Mr. McGraw opines
25                    McGraw Rep. ¶ 18, and that NSO
26                         McGraw Rebuttal Rep. ¶ 99. But Mr. McGraw conceded
27

28   Tr. at 74:22–76:9. Mr. McGraw

                                                      16
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 1

 2                  Tr. at 96:18–24. And Mr. McGraw has
 3                                                           Tr. at 82:8–11.
 4          Mr. McGraw likewise lacks any reliable basis to offer expert testimony about
 5   Mr. McGraw opines that
 6                   McGraw Rep. ¶ 39. But Mr. McGraw admitted that
 7

 8

 9                     Tr. at 120:6–25. Similarly, Mr. McGraw conceded
10                                                      Tr. at 299:5–7
11                                                                                Because Mr. McGraw’s
12   knowledge of
13                        he is unqualified to opine about                                              .
14          C. Mr. McGraw’s Policy Opinions Should Be Excluded Because His Opinions
15              Regarding “Lawful Intercept” Technology Lack Intellectual Rigor
16          Even if Mr. McGraw were an expert in                                   (which he is not) or had
17   any reliable basis to opine on                              (which he does not), Mr. McGraw none-
18   theless relies on an unreliable methodology to determine
19                The “basic function of expert testimony” is “to help the trier of fact understand highly
20   specialized issues that are not within common experience.” Elosu, 26 F.4th at 1026 (citing Kumho
21   Tire, 526 U.S. at 148–49). The trial judge must demand more than “the expert’s word” that his
22   methodology is sound. Fed. R. Evid. 702 advisory committee’s note (2000) (citing Daubert v. Mer-
23   rell Dow Pharms., Inc. (Daubert II), 43 F.3d 1311, 1319 (9th Cir. 1995))
24          Mr. McGraw’s                                                                   lacks the “intel-
25   lectual rigor” required of expert testimony. See Kumho Tire, 526 U.S. at 152. Although the McGraw
26   Report includes                                                                         Mr. McGraw
27   admitted under oath that
28                          Tr. at 154:17–19. Indeed, the very materials from which Mr. McGraw

                                                      17
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 1

 2                               See, e.g., Dkt. No. 401-2, Ex. 7 at *683–684. Even
 3   testified that                                                   Gazneli Dep. Tr. at 97:10–13.
 4             Mr. McGraw instead builds                                                                In his
 5   deposition,
 6

 7                                                                         Tr. at 93:6–9.
 8

 9                                                                Tr. at 109:1–6; see also Shohat Dep. Tr. at
10   24:1–7 (admitting misuse). The second is that “NSO has specifically stated that they have a process
11

12                                                    Tr. at 93:12–21. The third is the
13

14

15   See Tr. at 93:18–21, 96:18–24, 97:9–11.
16             In sum, Mr. McGraw’s methodology—consisting solely of
17          —does not pass muster under Rule 702. He admits
18

19                       Tr. at 96:20–24
20   Because Mr. McGraw’s opinions on                            do not reflect any discernible methodology,
21   and instead                                                                the Court should exclude Mr.
22   McGraw from offering them at trial.5
23                                                CONCLUSION
24             For the foregoing reasons, Plaintiffs respectfully request that the Court grant their motion to
25   exclude the expert opinions of Terrence McGraw.
26

27   5
         Mr. McGraw likewise fails to provide a methodology to opine, as he did in his deposition, that
28   See Tr. at 102:17–19.
                                                      18
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      Dated: January 9, 2025                       Respectfully Submitted,
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 2                                                 DAVIS POLK & WARDWELL LLP

 3
                                                   By: /s/ Micah G. Block
 4                                                     Micah G. Block (SBN 270712)
                                                       DAVIS POLK & WARDWELL LLP
 5                                                     900 Middlefield Road, Suite 200
                                                       Redwood City, California 94063
 6                                                     Telephone: (650) 752-2000
                                                       Facsimile: (650) 752-2111
 7
                                                       Email: micah.block@davispolk.com
 8
                                                         Greg D. Andres
 9                                                       Antonio J. Perez-Marques
                                                         Gina Cora
10                                                       Craig T. Cagney
11                                                       Luca Marzorati
                                                          (admitted pro hac vice)
12                                                       DAVIS POLK & WARDWELL LLP
                                                         450 Lexington Avenue
13                                                       New York, New York 10017
                                                         Telephone: (212) 450-4000
14                                                       Facsimile: (212) 701-5800
15                                                       Email: greg.andres@davispolk.com
                                                                antonio.perez@davispolk.com
16                                                              gina.cora@davispolk.com
                                                                craig.cagney@davispolk.com
17                                                              luca.marzorati@davispolk.com
18                                                       Attorneys for Plaintiffs
19                                                       WhatsApp LLC and Meta Platforms, Inc.

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